MEMO ENDORSED
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                                                         November 4, 2020

    VIA ECF
    The Honorable Andrew L. Carter, Jr.
    United States District Judge
    Southern District of New York
    500 Pearl Street
    New York, New York 10007

                         Re: United States v. David Santiago, 13-CR-811 (ALC)

    Dear Judge Carter:

            I have been appointed to represent David Santiago in the above-referenced matter. I write
    to request a modification of the briefing schedule in this case. The Defendant’s brief is currently
    due on November 5, 2020 and the Government’s response is due November 19, 2020. I have
    been diligently working on this matter and have been in communication with the defendant via
    CorrLinks email, as I am unable to meet with him in person, but I request an additional 30 days
    to further confer with the Defendant, gather additional documents, and file Mr. Santiago’s
    submission. I have communicated with Assistant United States Attorney Hagen Scotten, who
    advises that the Government does not object to this request, provided that the Defense consents
    to the Government having 30 days to respond, to which the Defense consents. Accordingly, we
    request that the Defendant’s submission be due by December 4, 2020 and the Government
    response be due by January 4, 2021.

           I thank the Court for its consideration.

                                                         Respectfully submitted,
                                                                /s/
                                                         Renato C. Stabile

    cc:    AUSA Hagen Scotten                         The application is granted.
           (via ECF)
                                                      So Ordered.
                                                                                                  11/4/20
